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RYAN G. WELDON
                                                                     FILED
Assistant U.S. Attorney                                                MAR I 1 2019
U.S. Attorney's Office                                              Clerk, U. S Distnct Court
P.O. Box 3447                                                         District Of Montana
                                                                           Gre~t Fa!ls
Great Falls, MT 59403
119 First Ave. North, Suite 300
Great Falls, MT 59403
Phone: (406) 761-7715                                                                      -
FAX: (406) 453-9973
E-mail: Ryan.Weldon@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

UNITED STATES OF AMERICA,                     CR 19-07-BU-\JL(

              Plaintiff,
                                              AFFIDAVIT ESTABLISHING
     vs.                                      PROBABLE CAUSE IN
                                              SUPPORT OF INFORMATION
ELLEN LORRAINE VAN AUDSOL,

              Defendant.



      1.      I, Brett Seamons, am a Special Agent with the Internal Revenue

Service, Criminal Investigation. I verify, under penalty of perjury, the following

facts that I believe establish probable cause that Ellen Lorraine Van Ausdol,

committed the offense of Wire Fraud, between January 2010 and April of 2016,

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 and Making and Subscribing to a False Income Tax Return, which occurred on

 September 4, 2014.

       2.       Van Ausdol operates a fiduciary business, which is called Fiduciary

. Consulting and Management, Inc., in Bozeman, Montana. The purpose of

 Fiduciary Consulting and Management, Inc., is to offer money management

 services for court-appointed clients. Many of the court-appointed clients lack the

 ability to manage their own money.

       3.      All total, the investigation determined that Van Ausdol embezzled

approximately $444,000 from her clients. The embezzlement resulted in Van

Ausdol also owing additional taxes to the IRS in an amount of$52,894.00. Such

an amount owed to the IRS spanned the duration of the six-year embezzlement

scheme.

      4.       One specific tax count charged in the information focused on the tax

return filed on September 4, 2014. On that date, VanAusdol signed and filed an

income tax return with the IRS. The income tax return contained a written

declaration by Van Ausdol that it was made under the penalties of perjury. Van

Ausdol signed such a return, omitting the total amount of income from embezzled

funds for that year. Van Ausdol knew that she needed to report such income, yet




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she did not do so. This omission resulted in an additional tax due and owing to the

IRS in the amount of$13,l l 1.

       5.      Law enforcement interviewed Van Ausdol, and she admitted to

embezzling money from her clients. According to Van Ausdol, she used the

majority of the money to cover her gambling expenses. The parties have not

resolved the total fraud loss or tax loss, but those issues will be addressed at

sentencing.

      6.       Van Ausdol's movements of money in this case occurred by way of

interstate wire communications throughout the scheme to defraud. The wires

affected interstate commerce when they travelled outside Montana, through the

Federal Reserve in Minneapolis, Minnesota, and returned to Montana. As a result

of these interstate wire communications, Van Ausdol obtained access to and

embezzled money for approximately six years.

      DATED this I I th day of March, 2019.




                                              Special Agent, IRS-CI




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